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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI

 Ahron Charach, individually and on behalf of all others
 similarly situated,                                                   C.A. No: 4:19-cv-230
                                           Plaintiff,
                                                                        CLASS ACTION COMPLAINT

                                                                         DEMAND FOR JURY TRIAL




        -v.-
 Client Services, Inc.
 and John Does 1-25.

                                       Defendant(s).

                                          COMPLAINT

       Plaintiff Ahron Charach (hereinafter, “Plaintiff”) brings this Class Action Complaint by

and through his attorneys, against Client Services, Inc. (hereinafter “Defendant”), individually and

on behalf of a class of all others similarly situated, pursuant to Rule 23 of the Federal Rules of

Civil Procedure, based upon information and belief of Plaintiff’s counsel, except for allegations

specifically pertaining to Plaintiff, which are based upon Plaintiff's personal knowledge.



                                       INTRODUCTION

       1.      Congress enacted the Fair Debt Collection Practices Act (“FDCPA”) in 1977 in

   response to the "abundant evidence of the use of abusive, deceptive, and unfair debt collection

   practices by many debt collectors." 15 U.S.C. §1692(a). At that time, Congress was concerned

   that "abusive debt collection practices contribute to the number of personal bankruptcies, to

   material instability, to the loss of jobs, and to invasions of individual privacy." Id. Congress

   concluded that "existing laws…[we]re inadequate to protect consumers," and that "'the


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effective collection of debts" does not require "misrepresentation or other abusive debt

collection practices." 15 U.S.C. §§ 1692(b) & (c).

   2.      Congress explained that the purpose of the Act was not only to eliminate abusive

debt collection practices, but also to "insure that those debt collectors who refrain from using

abusive debt collection practices are not competitively disadvantaged." Id. § 1692(e). After

determining that the existing consumer protection laws ·were inadequate. Id. § l692(b),

Congress gave consumers a private cause of action against debt collectors who fail to comply

with the Act. Id. § 1692k.

                              JURISDICTION AND VENUE

   3.      The Court has jurisdiction over this class action pursuant to 28 U.S.C. § 1331 and

15 U.S.C. § 1692 et. seq. The Court has pendent jurisdiction over any state law claims in this

action pursuant to 28 U.S.C. § 1367(a).

   4.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2) as this

is where a substantial part of the events or omissions giving rise to the claim occurred.



                                  NATURE OF THE ACTION

   5.      Plaintiff brings this class action on behalf of a class of consumers under§ 1692 et

seq. of Title 15 of the United States Code, commonly referred to as the Fair Debt Collections

Practices Act ("FDCPA"), and

   6.      Plaintiff is seeking damages and declaratory relief.

                                          PARTIES

   7.      Plaintiff is a resident of the State of New York, County of Kings, residing at 1567

41st street, Brooklyn, NY, 11218.




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   8.      Client Services, Inc. is a "debt collector" as the phrase is defined in 15 U.S.C.

§ 1692(a)(6) and used in the FDCPA with an address at 3451 Harry S Truman Blvd, Saint

Charles, MO, 63301.

   9.      Upon information and belief, Defendant is a company that uses the mail, telephone,

and facsimile and regularly engages in business the principal purpose of which is to attempt to

collect debts alleged to be due another.

   10.     John Does l-25, are fictitious names of individuals and businesses alleged for the

purpose of substituting names of Defendants whose identities will be disclosed in discovery

and should be made parties to this action.

                                    CLASS ALLEGATIONS

   11.     Plaintiffs bring this claim on behalf of the following case, pursuant to Fed. R. Civ.

P. 23(a) and 23(b)(3).

   12.     The Class consists of:

           a. all individuals;

           b. to whom Client Services sent an initial collection letter attempting to collect a

               consumer debt;

           c. that including deceptive accounting of the actual balance owed;

           d. which letter was sent on or after a date one (1) year prior to the filing of this

               action and on or before a date twenty-one (2l) days after the filing of this action.

   13.     The identities of all class members are readily ascertainable from the records of

Defendants and those companies and entities on whose behalf they attempt to collect and/or

have purchased debts.




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   14.      Excluded from the Plaintiff Class are the Defendants and all officer, members,

partners, managers, directors and employees of the Defendants and their respective immediate

families, and legal counsel for all parties to this action, and all members of their immediate

families.

   15.      There are questions of law and fact common to the Plaintiff Class, which common

issues predominate over any issues involving only individual class members. The principal

issue is whether the Defendants' written communications to consumers, in the forms attached

as Exhibits A, violate 15 U.S.C. §§ l692e and 1692g.

   16.      The Plaintiff’s claims are typical of the class members, as all are based upon the

same facts and legal theories. The Plaintiff will fairly and adequately protect the interests of

the Plaintiff Classes defined in this complaint. The Plaintiff has retained counsel with

experience in handling consumer lawsuits, complex legal issues, and class actions, and neither

the Plaintiff nor her attorneys have any interests, which might cause them not to vigorously

pursue this action.

   17.      This action has been brought, and may properly be maintained, as a class action

pursuant to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there is

a well-defined community interest in the litigation:

            a. Numerosity: The Plaintiff is informed and believes, and on that basis alleges,

               that the Plaintiff Class defined above is so numerous that joinder of all members

               would be impractical.

            b. Common Questions Predominate: Common questions of law and fact exist

               as to all members of the Plaintiff Class and those questions predominance over

               any questions or issues involving only individual class members. The principal




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               issue is whether the Defendant’s written communications to consumers, in the

               forms attached as Exhibit A violate 15 U.S.C. § l692e and §1692g.

           c. Typicality: The Plaintiff’s claims are typical of the claims of the class

               members. The Plaintiff and all members of the Plaintiff Class have claims

               arising out of the Defendant’s common uniform course of conduct complained

               of herein.

           d. Adequacy: The Plaintiff will fairly and adequately protect the interests of the

               class members insofar as Plaintiff has no interests that are adverse to the absent

               class members. The Plaintiff is committed to vigorously litigating this matter.

               Plaintiff has also retained counsel experienced in handling consumer lawsuits,

               complex legal issues, and class actions. Neither the Plaintiff nor her counsel

               have any interests which might cause them not to vigorously pursue the instant

               class action lawsuit.

           e. Superiority: A class action is superior to the other available means for the fair

               and efficient adjudication of this controversy because individual joinder of all

               members would be impracticable. Class action treatment will permit a large

               number of similarly situated persons to prosecute their common claims in a

               single forum efficiently and without unnecessary duplication of effort and

               expense that individual actions would engender.

   18.     Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure

is also appropriate in that the questions of law and fact common to members of the Plaintiff

Class predominate over any questions affecting an individual member, and a class action is

superior to other available methods for the fair and efficient adjudication of the controversy.




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   19.     Depending on the outcome of further investigation and discovery, Plaintiff may, at

the time of class certification motion, seek to certify a class(es) only as to particular issues

pursuant to Fed. R. Civ. P. 23(c)(4).


                                  FACTUAL ALLEGATIONS

   20.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

numbered above herein with the same force and effect as if the same were set forth at length

herein.

   21.     Some time prior to February 16, 2018, an obligation was allegedly incurred to

Chase Bank.

   22.     The Chase Bank obligation arose out of transactions in which the funds obtained

from the creditor were used primarily for personal, family or household purposes.

   23.     The alleged Chase Bank obligation is a "debt" as defined by 15 U.S.C.§ 1692a(5).

   24.     Chase Bank is a "creditor" as defined by 15 U.S.C.§ 1692a(4).

   25.     Chase Bank or a subsequent owner of the Chase Bank debt contracted with the

Defendant to collect the alleged debt.

   26.     Defendant collects and attempts to collect debts incurred or alleged to have been

incurred for personal, family or household purposes on behalf of creditors using the United

States Postal Services, telephone and internet.



                         Violation – February 16, 2018 Collection Letter

   27.     On or about February 16, 2018, Defendant sent the Plaintiff an initial contact notice

(the “Letter”) regarding the alleged debt owed to Chase Bank. See Exhibit A.




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    28.     When a debt collector solicits payment from a consumer, it must, within five days

of an initial communication send the consumer a written notice containing:

    (1) the amount of the debt;

    (2) the name of the creditor to whom the debt is owed;

    (3) a statement that unless the consumer, within thirty days after receipt of the notice,

    disputes the validity of the debt, or any portion thereof, the debt will be assumed to be

    valid by the debt collector;

    (4) a statement that if the consumer notifies the debt collector in writing within the thirty-

    day period that the debt, or any portion thereof, is disputed, the debt collector will obtain

    verification of the debt or a copy of the judgment against the consumer and a copy of

    such verification or judgment will be mailed to the consumer by the debt collector; and

    (5) a statement that, upon the consumer's written request within the thirty-day period, the

    debt collector will provide the consumer with the name and address of the original

    creditor, if different from the current creditor. 15 U.S.C. § 1692g(a).

    29.     The required disclosures set forth in 15 U.S.C. §1692g(a) are more commonly

known as the “G Notice”.

    30.     The FDCPA further provides that ''if the consumer notifies the debt collector in

writing within the thirty-day period . . . that the debt, or any portion thereof, is

disputed . . . the debt collector shall cease collection . . . until the debt collector obtains

verification of the debt . . . and a copy of such verification is mailed to the consumer by the

debt collector.'' 15 U.S.C. § 1692g(b).

    31.     Although a collection letter may track the statutory language, ''the collector

nevertheless violates the Act if it conveys that information in a confusing or contradictory




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  fashion so as to cloud the required message with uncertainty.'' Russell v. EQUIFAX A.R.S.,

  74 F.3d 30, 35 (2d Cir. 1996) (''It is not enough for a debt collection agency to simply include

  the proper debt validation notice in a mailing to a consumer-- Congress intended that such

  notice be clearly conveyed.''). Put differently, a notice containing ''language that

  'overshadows or contradicts' other language informing a consumer of her rights . . . violates

  the Act.'' Russell, 74 F.3d at 34.

      32.     The top of the letter states:

              Balance due at Charge Off:                     $1,915.77
              Interest Post Charge Off:                      $0.00
              Other Charges Post Charge Off:                 $0.00
              Payments Made Post Charge Off:                 $0.00
              Balance Due:                                   $1,878.77

      33.     Defendant deceptively lists multiple balances due without an account for the change

  in amounts.

      34.     Defendant should be aware of a payment being made and properly accounted for.

      35.     Plaintiff incurred an informational injury as Defendant falsely stated the amounts

  owed.

      36.     Defendant’s false statement overshadowed Plaintiff’s §1692g right to dispute or

  validate the debt as he was uninformed as to what amount he actually owed.

      37.     As a result of Defendant's deceptive, misleading and unfair debt collection

  practices, Plaintiff has been damaged.

                             COUNT I
VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C. §1692e
                               et seq.

     38.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

  above herein with the same force and effect as if the same were set forth at length herein.




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   39.     Defendant’s debt collection efforts attempted and/or directed towards the Plaintiff

violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692e.

   40.     Pursuant to 15 U.S.C. §1692e, a debt collector may not use any false, deceptive, or

misleading representation or means in connection with the collection of any debt.

   41.     Defendant violated §1692e :

           a. As the Letter it is open to more than one reasonable interpretation, at least one

               of which is inaccurate.

           b. By making a false and misleading representation in violation of §1692e(10).

   42.     By reason thereof, Defendant is liable to Plaintiff for judgment that Defendant's

conduct violated Section 1692e et seq. of the FDCPA, actual damages, statutory damages,

costs and attorneys’ fees.


                              COUNT II
    VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C.
                             §1692g et seq.

   43.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

above herein with the same force and effect as if the same were set forth at length herein.

   44.     Defendant’s debt collection efforts attempted and/or directed towards the Plaintiff

violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692g.

   45.      Pursuant to 15 USC §1692g, a debt collector:


           Within five days after the initial communication with a consumer in connection

   with the collection of any debt, a debt collector shall, unless the following information is

   contained in the initial communication or the consumer has paid the debt, send the

   consumer a written notice containing –




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                     1. The amount of the debt;

                     2. The name of the creditor to whom the debt is owed;

                     3. A statement that unless the consumer, within thirty days after receipt of

                         the notice, disputes the validity of the debt, or any portion thereof, the

                         debt will be assumed to be valid by the debt-collector;

                     4. A statement that the consumer notifies the debt collector in writing

                         within thirty-day period that the debt, or any portion thereof, is disputed,

                         the debt collector will obtain verification of the debt or a copy of a

                         judgment against the consumer and a copy of such verification or

                         judgment will be mailed to the consumer by the debt collector; and

                     5. A statement that, upon the consumer’s written request within the thirty-

                         day period, the debt collector will provide the consumer with the name

                         and address of the original creditor, if different from the current creditor.

     46.     The Defendant violated 15 U.S.C. §1692g, by not clearly stating the amount owed

 and deceived the consumer not to exert its rights under the FDCPA.

     47.     By reason thereof, Defendant is liable to Plaintiff for judgment that Defendant's

 conduct violated Section 1692g et seq. of the FDCPA, actual damages, statutory damages,

 costs and attorneys’ fees.


                              DEMAND FOR TRIAL BY JURY

     48.     Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby

 requests a trial by jury on all issues so triable.




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                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff Aharon Charach, individually and on behalf of all others similarly

situated, demands judgment from Defendant Client Services, Inc. as follows:


       1.      Declaring that this action is properly maintainable as a Class Action and certifying

   Plaintiff as Class representative, and Yaakov Saks, Esq. as Class Counsel;

       2.      Awarding Plaintiff and the Class statutory damages;

       3.      Awarding Plaintiff and the Class actual damages;

       4.      Awarding Plaintiff costs of this Action, including reasonable attorneys’ fees and

   expenses;

       5.      Awarding pre-judgment interest and post-judgment interest; and

       6.      Awarding Plaintiff and the Class such other and further relief as this Court may

   deem just and proper.


                                             Respectfully Submitted,

                                             Stein Saks, PLLC

                                             /s/ Yaakov Saks
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       Dated: February 16, 2019




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